               Case 2:06-cr-00441-DAD Document 484 Filed 11/13/12 Page 1 of 3


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 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-06-441-GEB
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
11
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       [PROPOSED] FINDINGS AND ORDER
12
     RICARDO VENEGAS,                                )
                                                     )
13
                                                     )       Date: February 8, 2013
             Defendant.                              )       Time: 9:00 a.m.
14
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
                                                     )
15
                                                     )
16

17
             The United States of America through its undersigned counsel, Jill Thomas, Assistant
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19   United States Attorney, together with counsel for defendant Ricardo Venegas, John R. Manning,

20   Esq., hereby stipulate the following:
21
          1. By previous order, this matter was set for status conference on December 7, 2012.
22
          2. By this stipulation, defendant now moves to continue the status conference until February
23
     8, 2013 and to exclude time between December 7, 2012 and February 8, 2013 under the Local
24

25   CodeT-4 (to allow defense counsel time to prepare).

26        3. The parties agree and stipulate, and request the Court find the following:
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             a. Counsel for the defendant needs additional time to review the discovery, conduct
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                 investigation, and interview potential witnesses.

                                                         1
              Case 2:06-cr-00441-DAD Document 484 Filed 11/13/12 Page 2 of 3


            b. This court has approved funding for Dayle Carlson, sentencing expert. Mr. Carlson is
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 2              reviewing the discovery; indictment; proposed plea agreement; meeting with counsel

 3              and Mr. Venegas to discuss potential mitigation issues. Counsel for Mr. Venegas has,
 4
                additionally, filed (via separate motion) a stipulation requesting USPO prepare a full
 5
                pre-plea PSR.
 6

 7
            c. Counsel for the defendant believes the failure to grant a continuance in this case

 8              would deny defense counsel reasonable time necessary for effective preparation,
 9              taking into account the exercise of due diligence.
10
            d. The Government does not object to the continuance.
11
            e. Based on the above-stated findings, the ends of justice served by granting the
12

13              requested continuance outweigh the best interests of the public and the defendant in a

14              speedy trial within the original date prescribed by the Speedy Trial Act.
15
            f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
16
                Section 3161(h)(7)(A) within which trial must commence, the time period of
17
                December 7, 2012 to February 8, 2013, inclusive, is deemed excludable pursuant to
18

19              18 United States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to

20              Local Code T-4 because it results from a continuance granted by the Court at
21
                defendant’s request on the basis of the Court’s finding that the ends of justice served
22
                by taking such action outweigh the best interest of the public and the defendant in a
23
                speedy trial.
24

25      4. Nothing in this stipulation and order shall preclude a finding that other provisions of the

26   Speedy Trial Act dictate that additional time periods are excludable from the period within which
27
     a trial must commence.
28




                                                      2
                               Case 2:06-cr-00441-DAD Document 484 Filed 11/13/12 Page 3 of 3


                           IT IS SO STIPULATED.
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 2   Dated: November 7, 2012                                                 /s/ John R. Manning
                                                                            JOHN R. MANNING
 3                                                                          Attorney for Defendant
                                                                            Ricardon Venegas
 4

 5
     Dated: November 7, 2012                                                Benjamin B. Wagner
 6                                                                          United States Attorney
 7
                                                                    by:     /s/ Jill Thomas
 8                                                                          JILL THOMAS
                                                                            Assistant U.S. Attorney
 9

10

11
                                                           ORDER
12

13                           IT IS SO FOUND AND ORDERED.
14   Date: 11/13/2012
15
                                                       ___________________________________
16
                                                       GARLAND E. BURRELL, JR.
17   DEAC_Signature-END:
                                                       Senior United States District Judge

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     61khh4bb

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